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EXHIBIT 4
AMERICAN CIVIL LIBERTIES UNION,

et al.,

ALBERTO R. GONZALES, in his official
capacity as Attorney General of the United
States,

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

Plaintiffs,

Civil Action No.
98-CV-5591

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Defendant.

LAWRENCE FERLINGHETTVS RESPONSES AND OBJECTIONS TO
DEFENDANT’S FIRST SET OF INTERROGATORIES

Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Lawrence .

Ferlinghetti (“ACLU Member”) responds and objects to Defendant Alberto R. Gonzales’s First

Set of Interrogatories (“Interrogatories”) as follows:

GENERAL OBJECTIONS

ACLU Member objects to the Interrogatories to the extent the instructions and demands
therein purport to impose obligations in addition to, beyond, or different from those set
forth in the Federal Rules of Civil Procedure and the Rules of Civil Procedure of the
United States District Court for the Eastern District of Pennsylvania.

ACLU Member objects to the interrogatories to the extent they call for the identification
or disclosure of information that is neither relevant to > the claims and defenses of any
party in this action nor reasonably calculated to lead to the discovery of admissible
evidence. ACLU Member submits these responses and objections without conceding the

relevance or materiality of the subject matter of any interrogatory.-
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that is neither relevant to the claims and defenses of any party in this action nor reasonably
calculated to lead to the discovery of admissible evidence. Subject to the foregoing and to the .
General Objections, ACLU Member responds as follows: ACLU Member does not have any
children under the age of 17. ACLU Member has no information responsive to this request for
other ACLU members, -

INTERROGATORY NO. 12

Identify the number or proportion of ACLU members who have provided a credit
card number to a website in order to purchase membership, online content, and/or other items for
sale, to make a donation, or to make a reservation (such as a rental car or hotel reservation).

RESPONSE TO INTERROGATORY NO, 12

ACLU Member objects to this Interrogatory because it calls for identification of

information not within the possession, custody or control of the ACLU Member. ACLU

~ Member further objects to the extent this Interrogatory calls for the identification of information -

that is neither relevant to the claims and defenses of any party in this action nor reasonably
calculated to lead to the discovery of admissible evidence. Subject to the foregoing and to the
General Objections, ACLU Member responds as follows: To the best of his recollection, ACLU
Member has not provided a credit card to any websites. ACLU Member has no information
responsive to this request for other ACLU members.

INTERROGATORY NO. 13

For each website plaintiff, identify a representative sample of webpages on your

website which contains material about which you fear prosecution under COPA, as referenced in

Paragraph 2 in the section titled “The Impact of COPA on ACLU Members” on page 24 of the

Amended Complaint that “[P]laintiffs fear prosecution under COPA for communicating,

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sending, displaying, or distributing material that might be deemed ‘harmful to minors’ by some
community in the United States.”
RESPONSE TO INTERROGATORY NO. 13

ACLU Member objects that this Interrogatory is unreasonably cumulative and
duplicative of Document Request No. 1, and calls for identification of information that is in the
public domain. ACLU Member also objects that the phrases used to define “representative
sample,” including “distribution of characteristics,” “degree of explicitness of sexual content,”
and “population or universe” are vague and ambiguous. ACLU Member further objects that this
Interrogatory calls for legal conclusions and is premature. Subject to the foregoing and to the
General Objections, ACLU Member refers Defendant to the web content identified in the
Amended Complaint and responds as follows: Examples of material that might be deemed
“harmful to minors” by some community in the United States include:

1) The City Lights Books website has a section with a history of the “Howl”
obscenity trial and photographs from the trial, located at
http://www.citylights.com/His/CLhowl html;

2) ACLU Member’s work, which is available on a variety of poetry sites on the
web, including the City Lights Books website.

INTERROGATORY NO. 14

For each website plaintiff, identify a representative sample of webpages on your
website which you believe contains material that has serious literary, artistic, political, scientific

and/or social value for adults.

1]
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home bookstore

Howi Turns 456

A. History of Howl

Howi Celebrations

Howl Gu Trial

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|.

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HOWL TURNS 50!

This year poetry lovers across the country and around the world celebrate the
50th Anniversary of the first publication of Howl and Other Poems by Allen
Ginsberg with readings and events. To commemorate the publishing of the
on Trial; The Battle for Free Expression. :. Here i is the inside story of editing,
publishing, and defending the landmark poem within a broader context of
obscenity issues and censorship of literary works. The City Lights edition of
Howl and Other Poems, Number Four in the City Lights Pocket Poets Series,
will continue to be available, as it has been all along, in the same format as
when it was first published fifty years ago.

Planning a Howl celebration in your neck of the woods? Let us know! We'll be happy to
help spread the word. Email dates, times and events to us at howl ai citvlights.com.

261 Columbus Ave. at Broadway. San Francisco. CA 94133 ph: (415) 362- $193 fax: (415) 362-1901 Open daily 10
am to midnight

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